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                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                            CASE NUMBER


                                                                                     CR 17-00239-PA
                                                        PLAINTIFF
                                  v.
MELVIN EDWARDS, III                                                     NOTIFICATION RE: APPLICATION FOR BAIL
                                                                        REVIEW OR RECONSIDERATION OF ORDER
                                                                                SETTING CONDITIONS OF
                                                                               RELEASE OR DETENTION,
                                                      DEFENDANT.                    (18 U.S.C. §3142)

PLEASE TAKE NOTICE that the Request for Hearing on the Application for Review/Reconsideration of Order Setting
Conditions of Release/Detention:

G is approved. The matter is set on calendar for hearing before:

G District Judge

G Magistrate Judge

on                                                             at                   G a.m. G p.m.

in courtroom                                                                                      .

G is not approved.

G Other:

     An interpreter is G required G is not required. Language
     Defendant is G in custody G not in custody.

                                                      Clerk, U. S. District Court




Date                                           Deputy Clerk                               Contact Phone Number

Notice is electronically made upon transmission of the Notice of Electronic Filing to the following agencies:
cc: G Probation G Interpreter’s Office G PSA.




             NOTIFICATION RE: APPLICATION FOR BAIL REVIEW OR RECONSIDERATION OF ORDER SETTING CONDITIONS OF
                                           RELEASE OR DETENTION, (18 U.S.C. §3142)
CR-88A (10/09)
